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NAME, ADDRE.SS, AND TEI.EPHONE NUMBER OF ATTORNEY(S)
OR OF E’AR'[Y APPEARING IN PRO PER

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UNITED S'I`ATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

STEPHAN|E CE_¥FFORD (AKA STORMY DAN|ELS), an
individua|;

CASE NUMBF_R:

2218-CV-05052

 

 

 

PIaintiff(S),
v.
KEtTH M. DAlesoN, an individual; MICHAEL
coHEN, an individuai, and DoEs.1 through 10, CERTIFICATION AND NOTICE
inclusive OF INTERESTED PARTIES
Defendam(s) (Local Rnle 7.1-1}
TO: THE COURT AND ALL PAR'I`IES 013 RECORD:

The undersigned counsel of record for

Keith Nt. Davidson

 

or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification

or recusal.

(List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.}

PARTY
Keith M. Davidson

Stephanie Citffotd
Michae| Avenatti

Avenalti & Associates, PC
Eagan Avenalii, LLP

Michael Cohen

June 7, 2018

CONNEC'I`ION / INTEREST
Cross-Comp|ainant

Cross-Defendant
Cross-Detendant
Ctoss-Defendant
Cross-Defendani

Cross-Defendant_,./""

 

 

 

Date Sign’atnre

Attorney of record for (or name of party appearing in pro per):

Keith Ni. Davidson, Esq.

 

 

CV-SD (05/13)

NOTICE. OF INTERESTED I'ARTIES

